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     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY
     Caption in Compliance with D.N.J. LBR 9004-1(b)

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     In re:                                                      Chapter 11

     LTL MANAGEMENT LLC,1                                        Case No.: 23-12825 (MBK)

                                  Debtor.                        Judge: Michael B. Kaplan




           OMNIBUS OBJECTION OF THE AD HOC COMMITTEE OF SUPPORTING
                        COUNSEL TO MOTIONS TO DISMISS


 1
        The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is 501 George
        Street, New Brunswick, New Jersey 08933.
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        The Ad Hoc Committee of Supporting Counsel (the “AHC of Supporting Counsel”), by

 and through its counsel, Paul Hastings LLP, Cole Schotz P.C., and Parkins & Rubio LLP, hereby

 submits this objection (the “Objection”) to the Motion of the Official Committee of Talc Claimants

 to Dismiss the Second Bankruptcy Petition of LTL Management, LLC [ECF No. 286] (the “TCC

 Motion”); Ad Hoc Group of Mesothelioma Claimants’ Motion to Dismiss the Second Bankruptcy

 Petition of LTL Management [ECF No. 335] (the “Meso. Motion”); Motion to Dismiss of Paul

 Crouch, Individually and as Executor Ad Prosequendum of the Estate of Cynthia Crouch [ECF

 No. 346] (the “Crouch Motion”); Motion of the Ad Hoc Committee of States Holding Consumer

 Protection Claims to Dismiss Chapter 11 Case [ECF No. 350] (the “States Motion”);

 Mesothelioma Claimants’ Joinder to Motion of the Official Committee Of Talc Claimants to

 Dismiss the Second Bankruptcy Petition of LTL Management, LLC [ECF No. 352] (the “Meso.

 Joinder”); MRHFM’s Plaintiffs’ Motion to Dismiss the Second Bankruptcy Petition of LTL

 Management, LLC [ECF No. 358] (the “MRHFM Motion”); Motion of the United States Trustee

 to Dismiss Case Pursuant to 11 U.S.C. § 1112(b) [ECF No. 379] (the “UST Motion”); Motion of

 Arnold & Itkin LLP to Dismiss Bankruptcy Case [ECF No. 384] (the “Arnold & Itkin Motion”);

 Joinder of Motions to Dismiss by Georgia State Court Claimants Represented by the Barnes Law

 Group, LLC [ECF No. 473] (the “Georgia Motion”); Motion of the State of New Mexico and the

 State of Mississippi to Dismiss the Second Bankruptcy Petition of LTL Management LLC for

 Cause, Pursuant to Section 1112(B) of the United States Bankruptcy Code (11 U.S.C. §§ 101, Et

 Seq.), and Joinder in Motions to Dismiss Filed by Certain Other Parties [ECF No. 480] (the “NM

 and MS Joinder”); Motion of the Estate of Melissa Fleming to Dismiss the Case Pursuant to 11
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 U.S.C. § 112(B) [sic] [Adv. ECF No. 117]2 (the “Fleming Motion”); and Motion of Robert

 Gendelman, Executor of the Estate of Sherri Gendelman to Dismiss the Case Pursuant to 11 U.S.C.

 § 112(B) [sic] [Adv. ECF No. 118] (the “Gendelman Motion” and together with the TCC Motion,

 Meso. Motion, Crouch Motion, States Motion, Meso. Joinder, MRHFM Motion, UST Motion,

 Arnold & Itkin Motion, Georgia Motion, NM and MS Joinder, and Fleming Motion, collectively,

 the “Motions” of the “Movants”). In support of the Objection, the AHC of Supporting Counsel

 respectfully submits the Declaration of James G. Onder In Support of Omnibus Objection of the

 Ad Hoc Committee Of Supporting Counsel to Motions to Dismiss (the “Onder Declaration”) and

 Declaration of Mikal C. Watts In Support of Omnibus Objection of the Ad Hoc Committee Of

 Supporting Counsel to Motions to Dismiss (“Watts Declaration”), filed contemporaneously

 herewith, and respectfully states as follows:

                                     PRELIMINARY STATEMENT3

         The fundamental question before the Court is whether this case should go forward to

 provide an opportunity for Debtor LTL Management, LLC (the “Debtor”), Johnson & Johnson,

 and all talc victims to reach and implement a settlement that will expeditiously provide them with

 monetary recovery. The AHC of Supporting Counsel submits, for the reasons that follow, that all

 such victims are entitled to play a role in how their talc claims are resolved and, therefore, whether

 to accept a settlement through a chapter 11 plan process.

         Less than six weeks after the Petition Date, the Debtor filed a proposed plan of

 reorganization (including any amendments or modifications, the “Proposed Plan”)4 that it submits



 2
     This Objection refers to docket entries in the above-captioned chapter 11 case, No. 23-12825 (MBK), as “[ECF
     No. __].” References to “[Adv. ECF No. __]” relate to docket entries in adversary proceeding No. 23-1092
     (MBK).
 3
     Capitalized terms used but not defined in this preliminary statement have the meanings provided in the remainder
     of the Objection.
 4
     See Chapter 11 Plan of Reorganization of LTL Management LLC [ECF No. 525].

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 would resolve all current and future talc claims in a fair and equitable manner. The Debtor and

 Johnson & Johnson are continuing to engage with the AHC of Supporting Counsel and others in

 order to resolve outstanding plan issues on a final basis. If confirmed, the Proposed Plan would

 deliver $8.9 billion in net present value to those suffering from disease allegedly caused by their

 use of Johnson & Johnson talc products, which settlement amount would constitute the largest

 settlement in any asbestos bankruptcy case and one of the largest settlements of personal injury

 claims in U.S. history.

        The law firms currently comprising the AHC of Supporting Counsel signed Plan Support

 Agreements (each a “PSA”) pursuant to which such law firms agreed to “do all things reasonably

 necessary and appropriate in furtherance of confirming” a plan in accordance with their agreement.

 Representing the majority of talc claimants in this proceeding, the AHC of Supporting Counsel is

 presently in deliberative negotiations with the Debtor and Johnson & Johnson to finalize the

 specific details of the agreement in principle reflected in the PSAs. To that end, assuming the final

 details of the agreement are worked out and agreed to, each law firm that is a member of the AHC

 of Supporting Counsel will confer with their respective clients and recommend that all such

 claimants vote in favor of the Proposed Plan in connection with a plan solicitation process.

        In an effort to frustrate the consummation of the Proposed Plan, however, the Movants now

 seek dismissal of the Chapter 11 Case on the basis of their assertion that, despite its changed

 financial circumstances with a new Funding Agreement, the Debtor is not legitimately or

 sufficiently distressed to avail itself of the benefits, rights, and obligations afforded by chapter 11.

 Because the AHC of Supporting Counsel expects the Debtor will address the issue of financial

 distress in its opposition to the Motions, this Objection instead addresses matters with which the

 AHC of Supporting Counsel is well-acquainted—i.e., the need for closure of more than a decade



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 of litigation through a negotiated settlement providing recoveries to tens of thousands of tort

 claimants of the Debtor through a confirmed plan of reorganization that is consistent with 11

 U.S.C. § 524(g).

        The Motions should be denied for several reasons. As an initial matter, and as countless

 courts and scholars have repeatedly found, the bankruptcy process offers an orderly alternative to

 piecemeal resolution of mass tort claims and should be embraced under the present circumstances

 as an opportunity to resolve all such claims on fair and equitable terms that provide finality and an

 expedited path toward creditor distributions. As such, it is clear the Debtor filed this Chapter 11

 Case for a proper purpose, and the Movants’ arguments with respect to bad faith are simply

 unavailing. But even if the Court determines it would be appropriate to dismiss the Chapter 11

 Case for cause under section 1112(b)(1) of the Bankruptcy Code, it should not do so under section

 1112(b)(2), pursuant to which bankruptcy courts may decline to dismiss a case where (i) unusual

 circumstances establish that dismissal is not in the best interests of creditors, (ii) there is a

 reasonable likelihood that a plan will be confirmed, and (iii) any infirmities in a chapter 11 debtor’s

 conduct (or failure to act) were otherwise excusable.

        Here, unusual circumstances exist in that the Proposed Plan, once confirmed, will resolve

 the tens of thousands of outstanding talc claims and thereby result in the largest number of creditors

 receiving a fair and equitable resolution of their claims in the shortest amount of time. While not

 yet a final plan, as this Court knows well, the bankruptcy process is iterative and often produces

 the best outcomes when parties have the opportunity to reach consensus and compromise. With

 the support of the AHC of Supporting Counsel, the Proposed Plan is reasonably likely to be

 finalized and confirmed. Furthermore, with respect to the alleged infirmity of the Debtor’s

 decision to file a petition for bankruptcy, there is a reasonable justification for the Debtor’s



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 decision to file and the alleged infirmity of such filing will be cured within a reasonable time. The

 Debtor’s decision to file was driven both by the need to garner protection for it and its affiliates

 from the constantly increasing number of lawsuits being filed against the Debtor and its affiliates

 as well as by its desire to pursue the deal set forth in the PSAs. Further, given the prospect of a

 confirmed plan of reorganization that will fully and finally resolve all such lawsuits and provide

 fair and equitable compensation to the victims, any alleged infirmity with respect to the decision

 to file will be rendered moot. Therefore, this Chapter 11 Case should not be dismissed and the

 Motions should be denied for these reasons and those that follow.

                                               BACKGROUND

         1.       The Debtor filed a voluntary petition to commence this chapter 11 bankruptcy case

 (the “Chapter 11 Case”) on April 4, 2023 (the “Petition Date”) for the purpose of resolving all

 current and future talc-related claims against LTL and its corporate affiliates, including Johnson

 & Johnson.

         2.       The Debtor did so in light of materially changed circumstances relative to its initial

 filing in October 2021 (the “2021 Chapter 11 Case”)5—including, most notably, that the Debtor

 and the Proposed Plan now have the support of the AHC of Supporting Counsel. Indeed, the

 Debtor, Johnson & Johnson and each member of the AHC of Supporting Counsel entered into a

 PSA that includes material terms for a chapter 11 plan through which all claimants would be fairly

 and equitably compensated for their talc-related claims. Onder Declaration at ¶12.

         3.       The AHC of Supporting Counsel is comprised of law firms representing more than

 58,000 talc claimants in the Chapter 11 Case, thousands of whom commenced lawsuits against the

 predecessor of the Debtor and its affiliates, including Johnson & Johnson, prior to the


 5
     See Declaration of John K. Kim in Support of First Day Pleadings at ¶¶ 71-74, 78-85 [ECF No. 4] (the “First Day
     Declaration”).

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 commencement of the 2021 Chapter 11 Case. Onder Declaration at ¶4; Verified Statement of Paul

 Hastings LLP, Cole Schotz P.C. and Parkins & Rubio LLP Pursuant to Bankruptcy Rule 2019

 [ECF No. 470] (the “Rule 2019 Statement”).

         4.      The AHC of Supporting Counsel’s collective client base, which continues to grow,

 is currently comprised of tens of thousands of women suffering from epithelial ovarian cancer and

 other gynecologic cancers, as well as men and women suffering from mesothelioma, all as a result

 of alleged exposure to and use of Johnson & Johnson talc products. See Rule 2019 Statement;

 Onder Declaration at ¶6. The constituent members of the AHC of Supporting Counsel are

 attorneys with decades of collective experience in mass tort litigation, and certain members have

 significant experience in talc litigation specifically.

         5.      Along with Mr. Majed Nachawati, AHC of Supporting Counsel member Mr. Jim

 Onder was involved in the 2021 Chapter 11 Case, representing members of the Official Committee

 of Talc Claimants,6 and supported the dismissal of the 2021 Chapter 11 Case. Onder Declaration

 at ¶8. He supported dismissal substantially due to the fact that, unlike here, there was never an

 acceptable proposal from the Debtor that would adequately and equitably compensate all current

 and future talc claimants. Id. at ¶9.

         6.      As experienced counsel in mass tort litigation, the constituent members of the AHC

 of Supporting Counsel appreciate and have witnessed first-hand the delay and inconsistency

 inherent in attempting to take thousands of such lawsuits to trial. Watts Declaration at ¶6. This is

 particularly true for talc litigation given both the staggering number of such lawsuits currently

 pending in state and federal courts across the country, as well as the limited resources and inherent

 challenges in our judicial system.


 6
     See Order Appointing the Official Committee of Talc Claimants, No. 21-30589-JCW, [ECF No. 355] (Bankr.
     W.D.N.C. Nov. 8, 2021).

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        7.      Litigation against the Debtor’s affiliates regarding harm suffered as a result of talc

 exposure began to explode more than five years ago, following a jury trial in which claimants were

 awarded $4.69 billion. First Day Declaration at ¶39. Since then, and as of the commencement of

 the 2021 Chapter 11 Case, approximately 38,000 ovarian cancer claimants and over 400

 mesothelioma claimants filed suit against the Debtor’s affiliates. Id. at ¶¶41-44.

        8.      In 2021 alone, the Debtor’s affiliates apparently were served with over 12,300

 ovarian cancer complaints, with such entities on average purportedly being served with “one or

 more ovarian cancer complaints every hour of the day, every single day of the week,” from January

 2020 to the present. Informational Brief of LTL Management LLC, No. 21-30589-JCW, [ECF No.

 3] at 125 (Bankr. W.D.N.C. Oct. 14, 2021).

        9.      The sheer volume of these filings makes it unrealistic, and practically impossible,

 to assure the talc victims will get an expeditious trial, let alone an expeditious recovery, given the

 substantial likelihood that appeals invariably will follow any successful judgment against the

 Debtor and Johnson & Johnson.

        10.     As counsel to many of these aggrieved victims, the members of the AHC of

 Supporting Counsel have, within or outside of bankruptcy, advocated zealously for their clients’

 interest in being compensated to the maximum extent for the harm they have suffered and will

 continue to endure.

        11.     To that end, members of the AHC of Supporting Counsel have conferred with the

 Debtor and other constituents throughout this proceeding to assess whether it would be possible to

 reach a fair and equitable resolution of all current and future talc exposure matters in a more timely

 fashion. Watts Declaration at ¶8.




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        12.     Specifically, and appreciating that many of their clients have already waited nearly

 a decade to recover for the harm they have suffered, many members of the AHC of Supporting

 Counsel, including some like Mr. Onder and Mr. Nachawati who were aligned with the TCC and

 opposed to such a process in the 2021 Chapter 11 Case, worked to secure the Debtor’s agreement

 to material terms of a plan of reorganization that would provide for expedited distributions to

 affected claimants in a just amount. Id. at ¶¶8-12; Onder Declaration at ¶¶9-11.

        13.     The upshot of those discussions was an agreement in principle on material financial

 terms to resolve talc claims through a chapter 11 plan, which, upon final agreement and if

 confirmed, would constitute the largest settlement in any asbestos bankruptcy case and one of the

 largest settlements of personal injury claims in U.S. history. While the parties continue to work to

 resolve certain outstanding issues, the Proposed Plan includes many of the terms agreed to in the

 PSA and reflects the parties’ substantial progress towards a consensual resolution.          Onder

 Declaration at ¶14; Watts Declaration at ¶9-12.

        14.     Indeed, as a result of these deliberate negotiations, the Debtor, Johnson & Johnson

 and all counsel who now comprise the AHC of Supporting Counsel each entered into a PSA

 pursuant to which the parties agreed to work together to finalize deal terms and seek confirmation

 of a plan of reorganization that would fund $8.9 billion net present value to a trust to satisfy all

 talc-related claims, as substantially reflected in the Proposed Plan. Watts Declaration at ¶9; see

 Form PSA, § 2.01(a)(iv)(B), [ECF No. 4-3] at 3 (internal pagination) (agreeing to “do all things

 reasonably necessary and appropriate in furtherance of confirming” a plan in accordance with the

 terms of their agreement).

        15.     Through this process, the AHC of Supporting Counsel agreed to support a

 settlement that it believes would not only compensate its clients fairly given the harm they have



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 suffered, but would do so on a timeline that undoubtedly will result in distributions made to all

 talc claimants more quickly here than in the tort system. Onder Declaration at ¶¶10-12; Watts

 Declaration at ¶11.

          16.    To that end, the PSA’s negotiated by members of the AHC of Supporting Counsel

 required that a plan containing the terms to which the parties already have agreed would be filed

 by May 14, 2023, or as soon thereafter as was feasible, and, consistent with its commitments in

 this regard, the Debtor on May 15, 2023 filed the Proposed Plan.7 Watts Declaration at ¶12; PSA

 at ¶2.

          17.    When appropriate to do so under the circumstances, and subject to reaching

 agreement on the final terms of the Proposed Plan, the members of the AHC of Supporting Counsel

 will, consistent with their obligations under the PSA, continue to confer with each of their 58,000

 clients and recommend that they vote in favor of the Proposed Plan once final. Onder Declaration

 at ¶15; Watts Declaration at ¶13.

          18.    Yet, in an effort to frustrate plan voting by the individual victims, the TCC, which

 speaks on behalf of a minority of talc claimants, has aggressively moved to dismiss this case as

 expeditiously as possible, and other parties of record have since followed suit. The AHC of

 Supporting Counsel does not believe that dismissal of this Chapter 11 Case is in the best interest

 of the claimants and objects to the Motions for the reasons that follow.

                                         LEGAL STANDARD

          19.    A Chapter 11 petition is subject to dismissal for “cause” under 11 U.S.C. § 1112(b)

 if it was not filed in good faith. In re LTL Mgmt., LLC, 64 F.4th 84, 100 (3d Cir. 2023) (“LTL 1”).

 Determining whether a chapter 11 petition was filed in good faith is a fact intensive inquiry, which



 7
     See Chapter 11 Plan of Reorganization of LTL Management LLC [ECF No. 525].

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 requires an assessment of where the petition “falls along the spectrum ranging from the clearly

 acceptable to the patently abusive.” Id. (citation omitted); see also Perlin v. Hitachi Capital, 497

 F.3d 364, 372 (3d Cir. 2007) (“[W]e instructed that courts should assess a debtor’s good faith on

 an ‘ad hoc basis,’ considering the ‘honest intention’ of the debtor and ‘whether the debtor has

 abused the provisions, purpose, or spirit of bankruptcy law.’”) (quoting In re Tamecki, 229 F.3d

 205, 207 (3d Cir. 2000)).

                                            ARGUMENT

        20.     Lack of good faith is not an enumerated “cause” under section 1112(b), but is

 recognized within and outside the Third Circuit as grounds for dismissal of a chapter 11 petition.

 See LTL 1, 64 F.4th at 99-100. The good faith inquiry considers, as a matter of general focus,

 “(1) whether the petition serves a valid bankruptcy purpose and (2) whether the petition is filed

 merely to obtain a tactical litigation advantage.” In re 15375 Mem’l Corp., 589 F.3d 605, 618

 (3d Cir. 2009) (citing In re SGL Carbon Corp., 200 F.3d 154,165 (3d Cir. 1999)) (internal

 quotations omitted); LTL 1, 64 F.4th at 100 (“Because the Code’s text neither sets nor bars

 explicitly a good-faith requirement, we have grounded it in the ‘equitable nature of bankruptcy’

 and the ‘purposes underlying Chapter 11.’”) (quoting In re SGL Carbon Corp., 200 F.3d at 161-

 62).

        21.     Here, in reliance on the Third Circuit’s ruling in LTL 1, Movants seek to dismiss

 this Chapter 11 Case on grounds that, among other things, the Debtor is not legitimately and

 sufficiently distressed to avail itself of the relief afforded to it in this forum, and that the Debtor

 has otherwise petitioned for bankruptcy for the purposes of obtaining an unfair litigation

 advantage. While the AHC of Supporting Counsel does not address the Debtor’s financial distress

 in this Objection, given that the Debtor is best positioned to do so, the Motions must nonetheless



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 be denied because the Debtor, suffering from the great weight of current and future talc liability,

 and on the basis of its changed financial circumstances, filed this Chapter 11 Case with a valid

 bankruptcy purpose. That valid bankruptcy purpose is to resolve all current and future talc-related

 claims raised against it on negotiated terms with the AHC of Supporting Counsel that are fair and

 equitable to all claimants.

   I.    THE BANKRUPTCY CASE WAS FILED FOR THE PROPER PURPOSE OF
         RESOLVING TALC LIABILITY AS THE CODE INTENDED

         22.     Congress created section 524(g) so that “debtor[s] and third parties who are alleged to

 be liable for [] asbestos claims … [would] be encouraged to participate in a system that will maximize

 the assets available to pay asbestos claims, present and future, and provide for an equitable distribution

 and method of payment.” 140 Cong. Rec. S4523 (daily ed. Apr. 20, 1994) (statement of Sen.

 Graham); see also In re Federal-Mogul Global, Inc., 684 F.3d 355, 362 (3d Cir. 2012) (finding that

 the “trusts appear to have fulfilled Congress’s expectation that they would serve the interests of both

 current and future asbestos claimants and corporations saddled with asbestos liability”).

         23.     Here, the Motions should be denied because the Debtor, consistent with this statement

 of congressional intent and in furtherance of a legitimate bankruptcy purpose, petitioned for

 bankruptcy with the express goal of using the Bankruptcy Code precisely as Congress intended in

 enacting section 524(g).

         24.     As this Court and others have routinely recognized, in the context of asbestos-related

 tort claims, the chapter 11 process offers “a meaningful opportunity for justice, which can produce

 comprehensive, equitable, and timely recoveries for injured parties.” In re LTL Mgmt., LLC, 637 B.R.

 396, 414 (Bankr. D.N.J. 2022) (“There is nothing to fear in the migration of tort litigation out of the

 tort system and into the bankruptcy system. . . . The bankruptcy courts offer a unique opportunity to




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 compel the participation of all parties in interest . . . in a single forum with an aim of reaching a viable

 and fair settlement.”).

         25.     The Third Circuit did not question this general proposition in LTL 1 and has expressly

 acknowledged the same benefits in prior precedent. In In re Federal-Mogul Global, Inc., for example,

 the Third Circuit recognized that bankruptcy “has proven an attractive alternative to the tort system”

 for debtors facing mass tort claims precisely because “it permits a global resolution and discharge of

 current and future liability,” with claimant’s interests in that process sufficiently protected “by the

 bankruptcy court’s power to use future earnings to compensate similarly situated tort claimants

 equitably.” 684 F.3d at 359 (citation omitted).

         26.     The need for such a process is made plain by the overwhelming amount of talc-related

 and asbestos-related litigation presently in the tort system. Indeed, as the U.S. Supreme Court

 acknowledged in this very context, the “most objectionable aspects of asbestos litigation can be briefly

 summarized: dockets in both federal and state courts continue to grow; long delays are routine; trials

 are too long; the same issues are litigated over and over; transaction costs exceed the victims’ recovery

 by nearly two to one; exhaustion of assets threatens and distorts the process; and future claimants may

 lose altogether.” Ortiz v. Fibreboard Corp., 527 US 815, 821 n.1 (1999) (citing Amchem Products,

 Inc. v. Windsor, 521 U.S. 591, 598 (1997)).

         27.     As it represents, the Debtor petitioned for bankruptcy with these exact concerns in

 mind and in light of an already unmanageable litigation docket. See First Day Declaration at ¶43

 (“As of the filing of the 2021 Chapter 11 Case, there were almost 40,000 plaintiffs asserting ovarian

 cancer claims against the Debtor, including almost 36,000 plaintiffs with claims pending in a federal

 multi-district litigation in New Jersey, and more than 3,800 plaintiffs with claims in multiple state

 court jurisdictions across the country.”); id. at ¶44 (“In addition to the ovarian cancer claims,



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 approximately 470 mesothelioma cases were pending against the Debtor as of the filing of the 2021

 Chapter 11 Case … with cases pending in New Jersey, California, Illinois, Missouri, New York and

 Ohio.”).

         28.     Consistent with the financial burdens attendant to the defense of prior chapters of

 asbestos-related litigation, and notwithstanding that this wave is still in its nascent stages, the Debtor

 represents that it has already incurred “astronomical” costs in response: “nearly $1 billion in defense

 costs on account of cosmetic talc litigation, most of which has been spent in only the five years

 immediately before the filing of the 2021 Chapter 11 Case; and over $3.5 billion in indemnity

 payments, primarily over the same time period.” Id. at ¶36.

         29.     And while the TCC and others suggest that the Debtor acted in “bad faith” because it,

 among other things, did not wait long enough for the rising costs of defending such matters to wipe it

 out completely, no party in this proceeding has so much as suggested that talc litigation will somehow

 break the mold of traditional asbestos litigation and be resolved on a more expeditious timeline. Id.

 at ¶42 (“Due to the long alleged latency periods for mesothelioma and ovarian cancer, cosmetic talc

 litigation against the Debtor is anticipated to continue for decades more, as are the extraordinary costs

 of defending and resolving the tens of thousands of expected claims.”).

         30.     For these reasons, rather than filing for the purposes of obtaining an “unfair”

 advantage in this sprawling litigation, the AHC of Supporting Counsel submits that the Debtor sought

 instead to equitably resolve in bankruptcy all such matters in light of the resources at its disposal and

 on a timeline that would benefit all current and future claimants. See In re Roman Catholic Church

 of Archdiocese of New Orleans, 632 B.R. 593, 612 (Bankr. E.D. La. 2021) (acknowledging that

 “filing for bankruptcy relief to administer and resolve tort claims does not in itself constitute an abuse

 of a bankruptcy court’s jurisdiction”) (citing In re Johns-Manville Corp., 36 B.R. 727, 740-41 (Bankr.



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 S.D.N.Y. 1984)); see also In re Muralo Co. Inc., 301 B.R. 690, 697 (Bankr. D.N.J. 2003) (finding

 debtors’ “sudden high-risk exposure to thousands of seemingly random and unmanageable asbestos

 … cases” was a “significant factor evidencing the good faith of Debtors’ filings”).

        31.     This is consistent with both the purpose of section 524(g) and the goals and the

 solutions available for “asbestos bankruptc[ies]” more broadly. See In re Honx, Inc., No. 22-90035,

 2022 WL 17984313, at *2 (Bankr. S.D. Tex. Dec. 28, 2022) (“Congress recognized that while an

 asbestos bankruptcy differs from a ‘classic’ bankruptcy with an insolvent or near-insolvent debtor, it

 is still a forward-looking solution meant to treat fairly all parties in interest. That is the hallmark

 purpose of Chapter 11. That is not a ‘bad faith’ motive.”) (emphasis added); see also Douglas G.

 Smith, Resolution of Mass Tort Claims in the Bankruptcy System, 41 U.C. Davis L. Rev. 1613, 1639-

 40 (2008) (by closing the door to all other avenues of recovery against the debtor, asbestos

 bankruptcies bring all creditors into one “centralized” forum to “resolve competing economic interests

 in an orderly and effective way”).

        32.     More importantly still, it is also consistent with the interests of the all talc claimants.

 Simply stated, the AHC of Supporting Counsel wants its clients to finally be paid. Many talc victims

 have died while waiting for justice in the tort system, and it is time for them to receive monetary

 recoveries rather than wait in ever growing lines for trials in the tort system. To ensure as much, the

 Motions respectfully should be denied.

  II.   THE TOTALITY OF THE CIRCUMSTANCES SUPPORTS THE DEBTOR’S
        GOOD FAITH IN FILING ITS PETITION

        33.     The Debtor’s good faith is further established by its affirmative efforts to reach an

 agreement in principle through the PSAs with certain critical stakeholders to resolve all talc claims

 held by current and future claimants fairly and equitably in bankruptcy.




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         34.     Contrary to the assertions of the TCC and other Movants, the clients of the members

 of the AHC of Supporting Counsel hold valid “claims” as such term is defined in the Bankruptcy

 Code, and for that reason are entitled to vote on a chapter 11 plan. And despite asserting to represent

 all talc victims, the TCC seeks to silence these victims by creating an artificial obstacle to their

 participation in this Chapter 11 Case.

         35.     Specifically, in addressing what it (wrongly) describes as an effort to “stack the voting

 deck” here, the TCC asserts that the Bankruptcy Court may consider only those claimants whose tort

 claims could survive the Daubert decision rendered in the talc MDL proceeding. See TCC Motion at

 5. This argument, transparent as it may be to discredit claimants with valid claims whose interest

 may not align with the TCC, is misguided in multiple respects.

         36.     As an initial matter, the TCC paints a misleading and incomplete picture of the District

 Court’s decision, which only addressed the extent to which expert opinion regarding certain types of

 ovarian cancers were sufficient to establish a causal link. The decision is narrow in that it addresses

 just one type of cancer and does not address any other types of cancer, not even, for example,

 mesothelioma. See In re Johnson & Johnson Talcum Powder Prod. Mktg., Sales Pracs. & Prod.

 Litig., 509 F. Supp. 3d 116, 181 (D.N.J. 2020). As such, this decision, which does not establish,

 address, or refer to what constitutes a claim for bankruptcy purposes, has no bearing in and of itself

 on the propriety of any claim asserted in this case.

         37.     Indeed, the Court already addressed the TCC’s misguided concerns in this regard.

 Specifically, in response to argument made by the TCC concerning the rights of certain talc victims

 to participate in this case, the Court correctly responded that even those “alleged victims of other

 types of cancer” would have “a claim” in this proceeding, and that the plan would account for such

 differences by “ascribing a different value or potential compensation scheme” depending “upon the



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 injury and the nature of the cancer.” See Exhibit 1 attached to the Declaration of Seth Van Aaltan

 filed herewith (“Ex.”), May 9, 2023 Hr’g, Tr., 34-36.

          38.    The Court’s response is legally correct and consistent with the breadth of permitted

 claims under the Bankruptcy Code, “longstanding principles of bankruptcy law and sensible

 bankruptcy policy[,]” and the “modern chapter 11 practice . . . for plans to be confirmed before the

 claims reconciliation process has been completed (or sometimes, even begun).” In re Promise

 Healthcare Group, LLC, No. 18-12491 (CTG), 2023 WL 3026715, at *5-7 (Bankr. D. Del. Apr. 20,

 2023).

          39.    As has long been recognized, it is axiomatic that Congress defined “claim” broadly

 under title 11. The Bankruptcy Code defines a “debt” as a “liability on a claim,”8 and a “claim,” in

 turn, includes any “right to payment, whether or not”9 such right has been reduced to judgment or is

 liquidated, fixed, matured, disputed, or secured.

          40.    In defining “claim” so expansively, Congress made plain that “[b]y this broadest

 possible definition . . . the [Bankruptcy Reform Act of 1978] contemplates that all legal obligations

 of the debtor, no matter how remote or contingent, will be able to be dealt with in the bankruptcy case

 . . . [and] permits the broadest possible relief in the bankruptcy court.” In re Grossman’s Inc., 607

 F.3d 114, 121 (3d Cir. 2010) (citing H.R. Rep. No. 95–595, at 309) (emphasis in original). The

 Supreme Court and Third Circuit are in accord. See FCC v. NextWave Pers. Communications Inc.,

 537 U.S. 293, 302 (2003) (claim has “the broadest available definition”) (citation omitted); In re

 Remington Rand Corp., 836 F.2d 825, 827 (3d Cir. 1988) (same).

          41.    Further, the Third Circuit has recognized that the “essence of bankruptcy” is the

 consolidation of “all pre-petition claims against the debtor in one collective proceeding before a


 8
     11 U.S.C. § 101(12).
 9
     Id. § 101(5).

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 bankruptcy court[,]” Maritime Electric Co. v. United Jersey Bank, 959 F.2d 1194, 1207 (3d Cir. 1991)

 (citation omitted), and courts acknowledge by extension that the claims allowance process “advances

 [that] underlying goal of the bankruptcy process[,]” In re Promise Healthcare Group, LLC, 2023 WL

 3026715, at *6.

         42.     These bedrock principles are particularly compelling “in cases involving [a]

 substantial number of tort claims that . . . follow the model established for asbestos claims in § 524(g)

 of the Bankruptcy Code, which requires the creation of a trust to resolve claims that are otherwise

 unliquidated.” Id. at *7. Reorganizing under section 524(g) provides remedies for both existing and

 future claimants and “the validity of all claims is left to the trust to establish in accordance with its

 guiding principles.” In re Global Industries Technologies, Inc., No. 02-21626-JKF, 2013 WL

 587366, at *9 n.14 (Bankr. W.D. Pa. Feb. 13, 2013).

         43.     Contrary to this precedent, however, the Movants here assert that the Court should

 conduct a trial on the merits of each claimants’ respective disease at this early stage of the Chapter 11

 Case. In this regard, the Motions to Dismiss are inconsistent with both the undisputed scope of claims

 in bankruptcy, as well as the process for determining the validity of such claims and handling any

 potential differences in the severity of such conditions in these circumstances. Because the Debtor

 has proposed a settlement construct that, by its material terms and once final, would result in the fair

 and equitable compensation of all talc claimants in the Chapter 11 Case, faster than in the tort system,

 there can be no question as to the “good faith” of its petition.

 III.    EVEN IF “CAUSE” IS SHOWN, DISMISSAL WOULD RUN CONTRARY TO THE
         CREDITORS’ BEST INTERESTS UNDER SECTION 1112(B)(2)

         44.     Even if “cause” for dismissal is found to exist, section 1112(b)(2) of the Bankruptcy

 Code gives the court discretion to not dismiss the case if “‘unusual circumstances’ exist such that

 conversion or dismissal of the case is not in the best interest of the creditors or the bankruptcy estate


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 and there is a reasonable likelihood that a chapter 11 plan will be confirmed within either a reasonable

 time or applicable statutory deadlines.” In re 1121 Pier Village LLC, 635 B.R. 127, 136-37 (Bankr.

 E.D. Pa. 2022).

         45.     The best interests of the talc victims are served when they receive fair and equitable

 compensation for their claims. Pursuant to section 1112(b)(2), and upon a finding of “unusual

 circumstances,” the bankruptcy court is given the discretion to not dismiss the chapter 11 case where

 it is shown that, (i) there is a reasonable likelihood that a plan will be confirmed within a “reasonable

 period of time”, (ii) the grounds for granting dismissal for “cause” include an act or omission for

 which there is a reasonable justification, and (iii) such act or omission will be cured within a

 reasonable period of time.

         46.     In connection with this analysis, the bankruptcy court retains broad discretion to

 determine whether “unusual circumstances” exist such that it would be in the “best interest of

 creditors” to keep the matter in chapter 11. See In re Korn, 523 B.R. 453, 465 (Bankr. E.D. Pa. 2014).

 And while the Bankruptcy Code does not define “best interests” for the purposes of this inquiry, courts

 have considered certain of the following factors to guide their analysis:

                 (1) whether some creditors received preferential payments, and whether
                 equality of distribution would be better served by conversion rather than
                 dismissal,
                 (2) whether there would be a loss of rights granted in the case if it were
                 dismissed rather than converted,
                 (3) whether the debtor would simply file a further case upon dismissal,
                 (4) the ability of the trustee in a chapter 7 case to reach assets for the benefit
                 of creditors,
                 (5) in assessing the interest of the estate, whether conversion or dismissal
                 of the estate would maximize the estate’s value as an economic enterprise,
                 (6) whether any remaining issues would be better resolved outside the
                 bankruptcy forum,
                 (7) whether the estate consists of a “single asset,”


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                 (8) whether the debtor had engaged in misconduct and whether creditors are
                 in need of a chapter 7 case to protect their interests,
                 (9) whether a plan has been confirmed and whether any property remains in
                 the estate to be administered,
                 (10) whether the appointment of a trustee is desirable to supervise the estate
                 and address possible environment and safety concerns, and
                 (11) consideration of the effect of dismissal under 11 U.S.C. § 349.

 See In re 1121 Pier Village, LLC, 635 B.R. at 139-40. The application of this test, however, “is not

 a mechanical or mathematical exercise[,]” as not all such factors “may be relevant in a particular

 case,” and “the factors that are relevant may not be entitled to equal weight.” Id. at 140 (citation

 omitted). “Rather, the list of considerations employed by a court in making a decision is simply … a

 guide to the required inquiry[.]” Id.

         47.     Consistent with this approach, and in recognition of the fact that the “unusual

 circumstances” inquiry is largely “result oriented,” see In re Korn, 523 B.R. at 468 (internal quotations

 omitted), certain courts have suggested a “simpler, unitary standard” that focuses on facilitating “the

 course of action that results in the largest number of creditors being paid the largest amount of money

 in the shortest amount of time.” In re 1121 Pier Village LLC, 635 B.R. at 140. (citations omitted).

 Here, the instant circumstances plainly satisfy the requirements of section 1112(b) and militate in

 favor of a finding that unusual circumstances exist such that dismissal is not in the best interests of

 creditors and the estate.

         48.     With the support in principle of the AHC of Supporting Counsel, which represents the

 majority of claimants in this Chapter 11 Case, the Debtor has put forth a Proposed Plan that, once

 finalized and confirmed, would result in a historic settlement for all current and future talc claimants.

 See In re Melendez Concrete, Inc., No. 11-09-12334 JA, 2009 WL 2997920, at *7 (Bankr. D.N.M.

 Sept. 15, 2009) (denying motion to dismiss and finding unusual circumstances existed where value




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 of chapter 11 Debtor’s assets substantially exceeded amount of secured debt and orderly

 reorganization would likely pay substantial portion of unsecured claims).

         49.     More importantly still, a settlement in this case would, unlike the alternative of

 piecemeal state and federal court litigation, result in more prompt payment for all of those affected.

 Given the timely and equitable recoveries currently set forth in the Proposed Plan, as well as the

 significant amount of time that claimants have already spent waiting for payment to address their

 harm, dismissal is not in the best interests of creditors and the estate. As the Movants know well, in

 the event this Chapter 11 Case is dismissed, nearly 40,000 plaintiffs will recommence their lawsuits

 against the Debtor and its affiliates, taking the next step to continue in a decades-long march to an

 uncertain potential for a recovery. As no one to this proceeding disputes, many more will continue

 to follow.

         50.     The magnitude of these unliquidated, disputed, and contingent claims against the

 Debtor and its affiliates is staggering, and, for that reason, a path to fair and timely distributions to

 claimants is in the best interests of creditors and the estate under the present circumstances. See In re

 Sherwood, No. 04-50584, 2008 WL 2074098, at *3 (Bankr. W.D. Mo. May 14, 2008)

 (“[O]verwhelming evidence of unusual circumstances” and that dismissal was not in best interests of

 creditors and estate, including because “dismissal would result in a significant delay in payment for

 [vast majority of creditors, who] would likely face protracted litigation in one or more state courts”

 and “dismissal of the Debtors’ case would result in a race to several courthouses and a multiplicity of

 lawsuits”).

         51.     As counsel to thousands of such claimants, Mr. Watts already testified regarding his

 sincere “concern[]” regarding such an outcome, as well as his belief that the deal struck with the

 Debtor and its affiliates, if confirmed, reflected a “one-time opportunity to get a global deal done that



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 would get all of [the affected claimants] paid.” Ex. 2 at 60:6-18 (Watts Dep. Tr.) (“I was very

 concerned, and I think that J&J had made clear, that once we were sent back to the tort system, this

 was virtually an impossible case to settle for all the ladies who are alleged to have been harmed. As

 you know, this has been going on for 10 years, and I think there’s been 46 trials …. So a lot of them

 are dying. I’ve seen it on my docket.”).

         52.     And while the Movants and any other claimants voting on the Proposed Plan have the

 right to vote to reject it, the AHC of Supporting Counsel respectfully submits that given the progress

 toward consensus that the parties have thus far made, as well as the parties desire to continue

 negotiating towards final agreement on all aspects of the Proposed Plan, there is a more than

 reasonable likelihood the Proposed Plan will be confirmed after votes are solicited. Ex. 2, at 65:7-11

 (“I’ve negotiated the best deal that I think there is. I believe it’s in the best interests of my clients.

 I’m willing to recommend it to my clients.”); Ex. 2, at 247:15-16 (“[T]o be clear, these clients have

 the right to say no. They absolutely do.”).

         53.     Confirmation of such a plan would undoubtedly justify and cure any alleged “bad

 faith” in connection with the Debtor’s filing. As this Court knows, to confirm a plan of reorganization

 in this case and obtain a channeling injunction under section 524(g), the Debtor will need to secure

 support of more than 75% of all outstanding claimants. And with a super-majority of talc claimants

 voting in favor of such a deal, it would defy logic to thereafter conclude that the Debtor commenced

 this case in “bad faith” and achieved an unfair advantage. Indeed, as has always been undisputed,

 “creditors are the best judge of their own best interests.” See In re Camden Ordinance Mfg. Co. of

 Arkansas, Inc., 245 B.R. 794, 802 (E.D. Pa. 2000).

         54.     For all of these reasons, the Motions to Dismiss should be denied and the talc victims

 should have the right to vote on the Proposed Plan. They need to decide whether the recoveries



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 proposed to pay talc victims are adequate to garner their vote in support of the Proposed Plan. And

 rather than allowing lawyers with disparate interests to dictate the terms on which these claimants will

 be compensated, the true victims in this proceeding should be permitted to assess and vote for or

 against.

                                            CONCLUSION

            For all the reasons set forth herein, the AHC of Supporting Counsel respectfully requests

 that this Court deny the Motions and not dismiss this Chapter 11 Case.


 Dated: May 26, 2023                            COLE SCHOTZ P.C.


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